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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


SYMBOLOGY INNOVATIONS, LLC,                     )
                                                )
                       Plaintiff,               )
                                                )   C.A. No. C.A. No. 1:19cv1025-RGA
       v.                                       )
                                                )
WONDERWILL LTD,                                 )
ZAPPER MARKETING LIMITED,                       )
ZAPPER MARKETING (USA) INC.,                    )
                                                )
                       Defendants.              )



               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff Symbology Innovations, LLC, pursuant to Rule 41(a)(1)(A)(i) of the Federal

Rules of Civil Procedure, hereby stipulates to dismissal with prejudice of all claims by Plaintiff

against all Defendants in this action.


Dated: January 17, 2020

/s/Stamatios Stamoulis_____________
Stamatios Stamoulis (#4606)
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Attorney(s) for Plaintiff Symbology
Innovations, LLC




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                               CERTIFICATE OF SERVICE

       I hereby certify that on January 17, 2020, I electronically filed the above documents with

the Clerk of Court using CM/ECF which will send electronic notification of such filings to all

registered counsel.



                                                    /s/Stamatios Stamoulis
                                                    Stamatios Stamoulis (#4606)




SO ORDERED, this ___________ day of January, 2020.


                                            ____________________________________
                                            United States District Court Judge




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                 NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
